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13
14                               UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
16    MARTIN CALVILLO MANRIQUEZ, et al.,
                                                       No. 3:17-cv-7210-SK
17
18                          Plaintiffs,
19                                                     NOTICE OF APPEAL
               v.
20
      ELISABETH DEVOS, in her official capacity        PRELIMINARY INJUNCTION APPEAL
21    as Secretary of Education, and the UNITED
      STATES DEPARTMENT OF EDUCATION
22
23                          Defendants.
24
25
26
             PLEASE TAKE NOTICE that Elisabeth DeVos, Secretary of the United States Department
27
     of Education, and the United States Department of Education hereby appeal to the United States
28
     Court of Appeals for the Ninth Circuit from the Court’s Order Granting in Part and Denying in


     Notice of Appeal
     Case No. 3:17-cv-7210-SK
                                                   1
                 Case 3:17-cv-07210-SK Document 81 Filed 07/24/18 Page 2 of 2




 1   Part Plaintiffs’ Motion for Preliminary Injunction, ECF No. 60, which was issued on May 25,
 2   2018, as well as the Court’s Amended Order Regarding Plaintiffs’ Motion for Preliminary
 3   Injunction, ECF No. 70, which was issued on June 19, 2018.
 4
 5   Dated: July 24, 2018                              Respectfully submitted,
 6
                                                       CHAD A. READLER
 7                                                     Acting Assistant Attorney General
 8                                                     MARCIA BERMAN
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10                                                     /s/ R. Charlie Merritt
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     Notice of Appeal
     Case No. 3:17-cv-7210-SK
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